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AO 106(Rev. 04/10) Application for a Search Warrant



                                                         States District Court
                                                                                                                                   L
UNDER §                                                             for the

                                                         Eastern District of Virginia
                                                                                                                       •D' I .'•
                                                                                                                                   4 2019

                                                                                                                CL£RK. U.S. DISTRICT COURT
             In the Matter ofthe Search of                                                                         ALEXANDRIA, VIRGINIA

         (Briejly describe the property to be searched
          or identify the person by name and address)                            Case No. 1:19-SW-194
 One black Samsung Galaxy 39(SM-G960UZKATMB                                                UNDER SEAL
         64GB 18.03, IMEI; 353309/09/151908/0,
                     S/N: R28K31M3BWJ)

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
^Wffelaclf ^frns^img'^alixy S§1'M-G960UZKATMB 64GB 18.03, IMEl: 353309/09/151908/0, S/N: R28K31M3BWJ).
 as described In Attachment A.

located in the              Eastern               District of             Virginia             ,there is now concealed (identify the
person or describe the property to be seized)'.
 See Attachment B.




          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 sf evidence of a crime;
                 sf contraband, fruits of crime, or other items illegally possessed;
                 aT property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

             Code Section                                                        Offense Description
        21 U.S.C. §§ 841(a)(1) & 846               Conspiracy to distribute a controlled substance.



          The application is based on these facts:



           sf Continued on the attached sheet.
           □ Delayed notice of        days (give exact ending date if more than 30 days                                       ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached she,



                                                                                              Appilcant's signaty

SAUSA Lynda Lao/AUSA James Trump                                                        Michael Jeng, Special Agent, FBI
                                                                                              Printed name and title


Sworn to before me and signed in my presence.
                                                                                             ./Sf
Date:                                                                         John F. Anderson
                                                                              United Slales

City and state: Alexandria, Virginia                                            Hon. John F. Anderson, U.S. Magistrate Judge
                                                                                              Printed name and title
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